Case 1:09-cv-01257-JCC-TCB Document 1 Filed 05/06/09 Page 1 of 7 PageID# 1
Case 1:09-cv-01257-JCC-TCB Document 1 Filed 05/06/09 Page 2 of 7 PageID# 2
Case 1:09-cv-01257-JCC-TCB Document 1 Filed 05/06/09 Page 3 of 7 PageID# 3
Case 1:09-cv-01257-JCC-TCB Document 1 Filed 05/06/09 Page 4 of 7 PageID# 4
Case 1:09-cv-01257-JCC-TCB Document 1 Filed 05/06/09 Page 5 of 7 PageID# 5
Case 1:09-cv-01257-JCC-TCB Document 1 Filed 05/06/09 Page 6 of 7 PageID# 6
Case 1:09-cv-01257-JCC-TCB Document 1 Filed 05/06/09 Page 7 of 7 PageID# 7
